                 Case 14-00227-SMT      Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58             Desc Main
                                                 Document     Page 1 of 33



                                        IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF COLUMBIA

                       In re:

                       BYRON WEBSTER JORDAN
                       AKA BYRON W. JORDAN
                       HELEN MONIQUE HOLT-JORDAN
                       AKA HELEN M. JORDAN,

                                                                             CHAPTER 7
                                DEBTORS.
                                                                             CASE NO. 14-00227-SMT

                       CALIBER HOME LOANS, INC.,

                                MOVANT,
                       vs.

                       BYRON WEBSTER JORDAN
                       HELEN MONIQUE HOLT-JORDAN
                       and WILLIAM DOUGLAS WHITE, TRUSTEE,


                                RESPONDENTS.

                                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                         (REAL PROPERTY LOCATED AT 1234 SIMMS PLACE NE, WASHINGTON,
                                                  DC 20002)

                                                                  NOTICE

                       YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH
                       YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU
                       MAY WISH TO CONSULT ONE.)

                       TO:      BYRON WEBSTER JORDAN, AND HELEN MONIQUE HOLT-JORDAN, DEBTORS
                                WILLIAM DOUGLAS WHITE, TRUSTEE

                       IF YOU DO NOT WISH THE COURT TO GRANT THE RELIEF SOUGHT IN THE MOTION, OR IF YOU WANT THE
                       COURT TO CONSIDER YOUR VIEWS ON THE MOTION, THEN WITHIN FOURTEEN (14) DAYS FROM THE DATE OF
                       SERVICE OF THIS MOTION, YOU MUST FILE A WRITTEN RESPONSE EXPLAINING YOUR POSITION WITH THE
                       COURT AND SERVE A COPY ON THE MOVANT. UNLESS A WRITTEN RESPONSE IS FILED AND SERVED WITHIN
                       THIS FOURTEEN (14) DAY PERIOD, THE COURT MAY DEEM OPPOSITION WAIVED, TREAT THE MOTION AS
                       CONCEDED, AND ISSUE AN ORDER GRANTING THE REQUESTED RELIEF WITHOUT FURTHER NOTICE OR
                       HEARING.

                       IF YOU MAIL YOUR RESPONSE TO THE COURT FOR FILING, YOU MUST MAIL IT EARLY ENOUGH SO THE COURT
                       WILL RECEIVE IT ON OR BEFORE THE EXPIRATION OF THE FOURTEEN (14) DAY PERIOD.




File No. 17263
Case 14-00227-SMT        Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58                 Desc Main
                                  Document     Page 2 of 33



      THE PRELIMINARY HEARING IS SCHEDULED TO BE HELD ON MAY 29,
      2014 AT 2:00 PM IN THE U.S. BANKRUPTCY COURT 333 CONSTITUTION
      AVENUE NW, WASHINGTON, DC 20001, COURTROOM 1.

              Caliber Home Loans, Inc. (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. §
      362, for relief from the automatic stay with respect to certain real property of the Debtors having
      an address of 1234 Simms Place NE, Washington, DC 20002 (the “Property”), for all purposes
      allowed by the Note (defined below), the Deed of Trust (defined below), and applicable law,
      including but not limited to the right to foreclose.      In further support of this Motion, Movant
      respectfully states:
              1.       A petition under Chapter 7 of the United States Bankruptcy Code was filed with
      respect to the Debtors on April 17, 2014.
              2.       The Debtors have executed and delivered or are otherwise obligated with respect
      to that certain promissory note in the original principal amount of $194,000.00 (the “Note”). A
      copy of the Note is attached hereto as Exhibit A.
              3.       Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations
      (collectively, the “Obligations”) of the Debtors under and with respect to the Note and the Deed of
      Trust are secured by the Property and the other collateral described in the Deed of Trust. The
      lien created by the Deed of Trust was perfected by recording of the Deed of Trust in the Office of
      the Clerk of the District of Columbia. A copy of the recorded Deed of Trust is attached hereto as
      Exhibit B.
              4.       As of May 6, 2014, the unpaid principal balance due is $187,353.29 and the
      approximate outstanding amount of Obligations less any partial payments or suspense balance is
      $244,900.00.
              5.       The following chart sets forth the number and amount of payments due pursuant
      to the terms of the Note that have been missed by the Debtors as of May 6, 2014:
        Number of Missed From                     To               Monthly Payment      Total      Missed
        Payments                                                   Amount               Payments
                35             06/01/2011          05/01/2014         $1,797.55            $62,914.25
        Less partial payments:                                                                ($0.00)
                                                                      Total Payments:      $62,914.25

              6.       As of May 6, 2014, the total arrearage/delinquency is $64,881.06, consisting of (i)

      the foregoing total of missed payments in the amount of $62,914.25, plus (ii) the following fees:

                               Fee Description                              Amount
              Foreclosure Fees and Costs                                    $991.00
              Late Fees                                                     $432.51
              Property Inspections                                          $180.75
              Property Preservation Fees                                    $362.55
Case 14-00227-SMT            Doc 20     Filed 05/06/14 Entered 05/06/14 16:45:58                  Desc Main
                                       Document     Page 3 of 33


               7.           In addition to the other amounts due to Movant reflected in this Motion, as of the

       date hereof, in connection with seeking the relief requested in this Motion, Movant has also

       incurred $726.00 in legal fees and costs.

               8.           The estimated value of the Property is $104,660.00. The basis for such valuation

       is: Tax Assessment.

               9.           Cause exists for relief from the automatic stay for the following reasons:

                      i.            Movant’s interest in the Property is not adequately protected.

                      ii.           Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtors have no equity in the

                                    Property; and pursuant to § 362(d)(2)(B), the Property is not necessary

                                    for an effective reorganization.



              WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

      stay and granting the following:

              1.       Relief from the stay for all purposes allowed by applicable law, the Note, and the

      Deed of Trust, including but not limited to allowing Movant to proceed under applicable non-

      bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property

      and any and all other collateral pledged under the Deed of Trust.

              2.       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

              3.       For such other relief as the Court deems proper.

              Dated: May 6, 2014.



                                                            CALIBER HOME LOANS, INC.


                                                            By:/s/ MICHAEL T. FREEMAN
                                                            Michael T. Freeman, Esquire, Bar No. 1005049
                                                            Daniel J. Pesachowitz, Esquire, Bar No. 14930
                                                            Samuel I. White, P. C.
                                                            1804 Staples Mill Road, Suite 200
                                                            Richmond, VA 23230
                                                            Tel: (804) 290-4290
                                                            Fax: (804) 290-4298
                                                            mfreeman@siwpc.com
Case 14-00227-SMT     Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58           Desc Main
                               Document     Page 4 of 33


            NOTICE OF DEADLINE TO FILE AND SERVE OBJECTION TO MOTION

              PLEASE TAKE NOTICE THAT WITHIN FOURTEEN (14) DAYS AFTER FILING
      OF THIS MOTION you must file and serve a written objection to the motion, together
      with the proposed order required by Local Bankruptcy Rule 9072-1. The objection and
      proposed order must be filed with the Clerk of the Bankruptcy Court, U.S. Courthouse,
      333 Constitution Avenue, N.W., Washington, D.C. 20001, and served (by delivery or
      mailing of a copy) upon the undersigned. The objection must contain a complete
      specification of the factual and legal grounds upon which it is based. You may append
      affidavits and documents in support of your objection.

             IF YOU FAIL TO FILE A TIMELY OBJECTION, THE MOTION MAY BE
      GRANTED BY THE COURT WITHOUT A HEARING. The Court may grant the motion
      without a hearing if the objection filed states inadequate grounds for denial.

      Dated: May 6, 2014


                                                CALIBER HOME LOANS, INC.



                                                By:/s/ MICHAEL T. FREEMAN
                                                Michael T. Freeman, Esquire, Bar No. 1005049
                                                Daniel J. Pesachowitz, Esquire, Bar No. 14930
                                                Samuel I. White, P. C.
                                                1804 Staples Mill Road, Suite 200
                                                Richmond, VA 23230
                                                Tel: (804) 290-4290
                                                Fax: (804) 290-4298
                                                mfreeman@siwpc.com
Case 14-00227-SMT        Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58                 Desc Main
                                  Document     Page 5 of 33




                                       CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing Motion was served by first class mail
      postage prepaid this 6th day of May, 2014 on all necessary parties including William Douglas White,
      Trustee, 1751 Pinnacle Drive, Suite 1115 , McLean, VA 22102; Jeffrey C. Tuckfelt, Counsel for
      Debtors, Suite 700, 1300 Pennsylvania Avenue, NW, Washington, DC 20005; and Byron Webster
      Jordan and Helen Monique Holt-Jordan, Debtors, 2665 Martin Luther King Jr. Ave. SE Apt. 303,
      Washington, DC 20020.

                                                       /s/ MICHAEL T. FREEMAN
                                                       Samuel I. White, P. C.
Case 14-00227-SMT        Doc 20     Filed 05/06/14 Entered 05/06/14 16:45:58                   Desc Main
                                   Document     Page 6 of 33



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA


      In re:

      BYRON WEBSTER JORDAN
      AKA BYRON W. JORDAN
      HELEN MONIQUE HOLT-JORDAN
      AKA HELEN M. jORDAN
                                                                 CHAPTER 7
               DEBTORS.
                                                                 CASE NO. 14-00227-SMT

      CALIBER HOME LOANS, INC.,

               Movant.
      vs.

      BYRON WEBSTER JORDAN
      HELEN MONIQUE HOLT-JORDAN
      and WILLIAM WHITE, TRUSTEE,

               Respondents.

                  NOTICE OF MOTION AND OPPORTUNITY TO OBJECT TO MOTION
                 FOR RELIEF FROM THE AUTOMATIC STAY AND HEARING THEREON


              Caliber Home Loans, Inc., (“Movant”), has filed papers with the court seeking relief from
      the automatic stay of 11 U.S.C. §362(a) to enable it to proceed to foreclose on its Deed of Trust
      referencing the subject property known as 1234 Simms Place NE, Washington, DC 20002. Your
      rights may be affected. You should read these papers carefully and discuss them with your
      lawyer, if you have one in this bankruptcy case. (If you do not have a lawyer, you may wish to
      consult one.).

               If you do not want the court to grant the motion for relief from the stay, or if you want the
      court to consider your views on the motion, then by May 23, 2014, you or your lawyer must file a
      written response with the Clerk of the Bankruptcy Court explaining your position and mail a copy
      to:

                       Michael T. Freeman
                       1804 Staples Mill Road
                       Suite 200
                       Richmond, VA 23230
                                                         and

                       William Douglas White
                       1751 Pinnacle Drive,
                       Suite 1115
                       McLean, VA 22102
Case 14-00227-SMT        Doc 20     Filed 05/06/14 Entered 05/06/14 16:45:58                  Desc Main
                                   Document     Page 7 of 33



                If you mail a copy rather than deliver your response to the Clerk of the Bankruptcy Court
      for filing, you must mail it early enough so that the Court will receive it by the date stated above.

             The hearing is scheduled for May 29, 2014 at 2:00 PM, in the United States Bankruptcy
      Court for the District of Columbia, U.S. Bankruptcy Court 333 Constitution Avenue NW,
      Washington, DC 20001, Courtroom 1.

      IF YOU OR YOUR LAWYER DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT
      MAY DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION AND
      MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE SCHEDULED
      HEARING DATE.

      DATE SERVED: May 6, 2014



                                                        /s/ MICHAEL T. FREEMAN
                                                        Michael T. Freeman, Esquire, Bar No. 1005049
                                                        Daniel J. Pesachowitz, Esquire, Bar No. 14930
                                                        Samuel I. White, P. C.
                                                        1804 Staples Mill Road, Suite 200
                                                        Richmond, VA 23230
                                                        Tel: (804) 290-4290
                                                        Fax: (804) 290-4298
                                                        mfreeman@siwpc.com

                                         CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing Notice of Motion was served by first class
      mail postage prepaid this May 6, 2014 on all necessary parties including William Douglas White,
      Trustee, 1751 Pinnacle Drive, Suite 1115 , McLean, VA 22102; Jeffrey C. Tuckfelt, Counsel for
      Debtors, Suite 700, 1300 Pennsylvania Avenue, NW, Washington, DC 20005; and Byron Webster
      Jordan and Helen Monique Holt-Jordan, 2665 Martin Luther King Jr. Ave. SE Apt. 303, Washington,
      DC 20020;.

                                                        /s/ MICHAEL T. FREEMAN
                                                        Samuel I. White, P. C.
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 8 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 9 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 10 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 11 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 12 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 13 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 14 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 15 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 16 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 17 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 18 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 19 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 20 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 21 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 22 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 23 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 24 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 25 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 26 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 27 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 28 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 29 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 30 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 31 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 32 of 33
Case 14-00227-SMT   Doc 20    Filed 05/06/14 Entered 05/06/14 16:45:58   Desc Main
                             Document     Page 33 of 33
